           Case 2:19-cv-01589-RSL-TLF Document 24 Filed 10/19/20 Page 1 of 2




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4                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
5                                     AT TACOMA

6    S-EVERGREEN HOLDING CORP,
                                                        Case No. C19-1589 RSL-TLF
7                            Plaintiff,
           v.                                           ORDER GRANTING MOTION TO
8                                                       EXTEND EXPERT DISCLOSURE
     AON RISK INSURANCE SERVICES                        DEADLINES
9    WEST INC,
10                           Defendants.

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12         This matter comes before the Court on the parties’ Stipulated Motion to Extend

13   Parties’ Expert Disclosure Deadlines. Dkt. 23.

14         The parties stipulate to a four-week extension of the parties’ expert disclosure

15   deadlines. Based on the parties’ stipulated motion and the balance of the record, the

16   Court hereby ORDERS:

17         (1) The parties’ stipulated motion (Dkt. 23) is GRANTED; and

18         (2) The deadlines set forth in the Court’s scheduling order (Dkt. 21) remain intact,

19              except -- the expert disclosure deadlines are hereby amended and the parties

20              shall now conform to the following revised deadlines:

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25
     ORDER GRANTING MOTION TO EXTEND EXPERT
26   DISCLOSURE DEADLINES - 1
          Case 2:19-cv-01589-RSL-TLF Document 24 Filed 10/19/20 Page 2 of 2




1                        Event                                     Date

2    Disclosure of plaintiff’s expert witnesses              December 9, 2020

3    Disclosure of defendant’s expert witnesses               January 9, 2021

4    Disclosure of rebuttal witnesses                        February 17, 2021

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6          Dated this 19th day of October, 2020.

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9                                                  A
                                                   Theresa L. Fricke
10                                                 United States Magistrate Judge

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     ORDER GRANTING MOTION TO EXTEND EXPERT
26   DISCLOSURE DEADLINES - 2
